Case 5:19-cr-00043-gwc Document 112 Filed 07/17/23 Page 1 of 1

UNITED STATES DISTRICT COURT

DISTRICT OF VERMONT
UNITED STATES OF AMERICA )
)
Vv. ) CASE NO. 5:19-cr-00043-gwe-1
)
BRYAN WRIGHT )

DEFENDANT’S MOTION TO CONTINUE

NOW COMES Defendant, Bryan Wright, by and through his undersigned attorney, Mark
D. Oettinger, of Montroll, Oettinger & Barquist, P.C., and requests that the Final Revocation
Hearing currently scheduled for 11:30 AM on July 21, 2023, be postponed.

Defendant is currently engaged in long term residential drug and alcohol treatment in
Burns, Tennessee. That program is of unknown duration, but is long term and immersive. On
information and belief, Defendant is acclimatizing well to the program, and would like to take
maximum advantage of the resources that it affords him. For the foregoing reasons, Defendant
respectfully requests that his July 21, 2023, Final Revocation Hearing be continued.

Pursuant to Local Rule 7(a)(7), defense counsel has communicated with AUSA

Masterson about this Motion, and she does not object.

DATED at Burlington, Vermont this 17" day of July 2023.

Respectfully submitted,

Ai d - Gute

Mark D. Oettinger, Esq.

Attorney for Bryan Wright
Montroll, Oettinger & Barquist, P.C.
126 College Street, Suite 400

P.O. Box 1045

Burlington, VT 05402

(802) 540-0250
moettinger@mblawoffice.com

